Case 23- 30672- 5-wak Doc59 Filed 05/14/25 Entered 05/14/25 10:26:26 Desc Main

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United States Bankruptcy Court
Northern District of New York
AH Divisions

This Form Is To Be Used For Motion’ Calendar Only.
Case Name: Joseph A Dimino Jr

Case No.: 23-30672
Division: Syracuse

Adversary Proceeding No. (if applicable):

hf Adjournment Request” for Hearing on Motion at Docket No.: 53
Reason for Adjournment Request: allow time for creditor to confirm exact payments history
Original Return Date of Motion: 4/3/2025

Number of prior adjournment request that have been made __1

Ll Notification of Withdrawal of © Motion; ( Opposition/Response; [1 Other:
at Docket No.:

[| Notification of Settlement of Motion at Docket No.:
Date of Hearing: 05/15/2025
Requested Adjourned Hearing Date: 06/26/2025

Requesting Attorney’s Name, Office Address, Phone arid Email Address:
Neil T Bhatt, 536 State St., Ogdensburg, NY 13669; 315-713-4837;
Neil@bhattlawfirm. net

Consent of All Parties Obtained? MM Yes - Q No - Absent compelling reasons,
adjournments will not be granted without the consent of all parties.

Cc: Chapter 13 Trustee, US Trustee via ECF
This Form Must Be E-Filed Not Later Than 2 p.m. on the Day Prior
to the Hearing. When E-Filing, This Form Must Be Linked to the
Motion to Which the Request/Notification Pertains.

! , The form to be used for confirmation calendar related matters is available on the Court's website.
* If your request is denied, you will be notified by Chambers.

CH:LR9013A(10/12/2023)
